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APPENDIX H




Monaco medical malpractice claim and Expert independent review of facts




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                                              April 2, 20 14

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Re: Expert Medical Report for Monaco v. Schneider

Dear Mr. Emery,

        This report is based on my review of medical records which you sent to me on January
28, February 23, March 10 and March 17, 2014. Opinions stated herein are within a reasonable
degree of medical probability. I am a medical doctor licensed to practice medicine in the States
of Nevada, California, Utah and Georgia. I am Board Certified in both Anesthesiology and Pain
Medicine, as indicated on my Curriculum Vitae, which describes in detail my education,
training, certifications, experience, publications and presentations. Furthermore, having practiced
both as an Anesthesiologist and as a Pain Medicine Specialist in my own office, the Pain
Institute of Nevada from 1989 until 2005, and currently practicing as a Pain Medicine Specialist
in the Veterans Administration, I am very familiar with the practice of medicine in both hospitals
and private clinical practice and am qualified to render an opinion in this case.

         You have requested that I render opinions on the medical care provided to Mr. Russell
Monaco concerning treatment during his hospitalization for lumbar spine surgery from 11128/11
to 12/ 1111 and his subsequent death on the morning of 12/2/ 11, specifically addressing
deviations from the standards of care as they apply to postoperative pain management in this
patient.

!.Factual Summary: At your request, I have reviewed the following medical and billing records
concerning this case, which you provided to me:

   1. Billings Clinic (Family Practice)- 8116/11 to 11/22/ 11
   2. John H. Schneider, MD- 11128/ 11 to 1211/11
   3. West Park Hospital, Cody Wyoming- 11128/11 to 1211/11
   4. Kenneth W. Kulig, MD- Deposition 5/20/13
   5. Transdermal Fentanyl FDA Black Box Warning
   6. Report of Postmortem Examination/Thomas L. Bennett, MD- 1125/12
   7. Four Medical Articles/Studies/Letters Con~eming Fentanyl TTS for Post-Op Pain
   8. Donlin M. Long, MD, PhD Letter - 8/23/12



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    9. Answer to First Amended Complaint- 119/14- By Dr. Sclmeider and Northern Rockies
        Neuro-Spine (NRNS)
    10. Respondent's Proposed Findings of Fact and Conclusions of Law- 1117/14
    11. Sclmeider Pre-Op Neuro Orders; Sclmeider Post Op Orders; Sclmeider Inpatient
        Standing Orders for WestPark Hospital
    12. Target Pharmacy Records, Billings, MT- 5/22/09 to 8/30/11
    13. Northern Rockies Neuro-Spine (NRNS) Prescription Protocol

II. History: Mr. Monaco was a 4 7 year old man with several significant medical conditions, to
include morbid obesity (283 pounds day of surgery), diabetes, hypertension, hyperlipidemia and
allergy to morphine. He was admitted to West Park Hospital on 11/28/11 for urgent lumbar
spinal decompression surgery for severe spinal stenosis and progressive decline in his
lumbosacral neurological function, with severe back and leg pain. He was taken to surgery that
same day, having a bilateral L23, L34 and L45 laminectomy, facetectomy and foraminotomy,
without any described complications. He was going to be discharged home the next day, on
11/29/11, but developed increasing back pain that day, could not ambulate independently, and
that planned discharge was cancelled by Dr. Sclmeider. Mr. Monaco developed "the worst pain
of his life" shortly after midnight on 11130/11 and required increased pain medication, receiving
at least 14 doses of various pain medications during the next 24 hours, including oral oxycodone,
hydrocodone, Dilaudid, IM Demerol and the transdermal fentanyl patch at 08:09 hrs that
morning. Dr. Sclmeider visited Mr. Monaco at 15:00 hrs on 11/30111, counseled Mr. Monaco
and his wife on the use of analgesics after discharge (fentanyl patch and one Percocet prn every
eight hours for breakthrough pain). Mr. Morrell visited Mr. Monaco at 07:00 hrs on 1211/11,
found him medically stable, excellent pain control, oxygen saturation of 94% on room air, was
walking independently and wrote discharge orders, to include prescriptions for post-discharge
medications, to include Dilaudid, Percocet, Valium and transdetmal fentariyl patches.         Dr.
Sclmeider came to visit Mr. Monaco at 07:50 hrs, but Mr. Monaco was not in his room. Dr.
Sclmeider noted the discharge orders. Dr. Sclmeider did not see any evidence of the
prescriptions for Mr. Monaco written by Mr. Morrell, because Mr. Morrell gave those
prescriptions directly to Mr. Monaco. Mr. Monaco was discharged from all inpatient services
and medications at 07:00 hrs on 12/l/11 by Mr. Morrell. He was eventually discharged home at
10:30 hrs. Please refer to para III. 2. for specific events leading up to his discharge.

III. Discussion: In my opinion there are two major issues involving the standard of care which
had a direct impact on Mr. Monaco's death: 1) the use of strong opioid medication for his post-
operative pain management and 2) his discharge from the hospital in less than optimal condition.
This discussion will not cover information in all the documents reviewed, but summarize the
pertinent data.

       1. Post operative pain management with strong opioid medications:
             a. Prescription of transdermal fentanyl for post-operative treatment of
                 pain:
                      t. It is not new nor unprecedented (see articles under para 1.7. above),
                         and is as effective as IV morphine in post-operative patients who
                         cannot take oral medications, requiring those medications be delivered
                         by some other route, i.e., IV, transdermal, rectal.



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          ii. The FDA "Black Box Warning" does not prohibit the use of nor
                indicate the use oftransdermal fentanyl in Mr. Monaco's specific case
               was below the standard of care.
                    1. He was opioid tolerant, not only from the hydrocodone he had
                        been taking for several weeks before surgery, but from the
                        strong opioids he had received intraoperatively (fentanyl 300
                        meg) and those starting immediately postoperatively.
                    2. His pain was not acute, it was a post-surgical increase of his
                        chronic low back pain
                    3. It was not post-operative pain of the type described in the black
                        box warning, i.e., not pain in an opioid naive patient, departing
                        an out-patient surgery center after a surgical procedure, to
                       return home, without any medical monitoring of any type, a
                        clearly dangerous situation. The Black Box Warning was
                       designed to prevent scenarios potentially harmful to patients,
                       e.g., surgeon discharging an opioid-naYve patient home after
                       having a hernia operation in a surgery center on a transdermal
                       fentanyl patch. This clearly did not occur in this case with Mr.
                       Monaco.
                   4. His pain was not mild. Shortly after midnight on 11/30/11,
                       prior to implementation of the transdermal fentanyl, the patient
                       described back and leg pain as the worst pain of his life. The
                       intermittent oral and IV opioid analgesics were not working
                       and he needed a stronger, sustained type of opioid (IV or
                       transdermal). With the intent to discharge him home, an IV
                       system was not practical. The transdermal system was ideal.
         m. Dr. Schneider was conservative and selective in using transdermal
               fentanyl for post-operative pain control, prescribing it to only 19 out of
               1900 patients (1%) of his patients in the first two weeks
              postoperatively.
         iv. Mr. Monaco had difficulty tolerating strong oral opioid analgesics and
              could not be discharged without having a strong baseline (constant
              blood level) of opioid analgesic medication, unless he was able to use
              some type of IV PCA opioid analgesic (such as morphine) at home, a
              very undesirable option, especially with his refusal to follow medical
              advice, such as refusing to use home oxygen.
          v. Dr. Kulig, who has not and does not actively treat patients for pain
              conditions as discussed in this case (as I have done for many years),
              states in his deposition, "the fentanyl patch is not to be used for the
              management of acute pain or post-op pain, and his pain was both of
              those, and the fentanyl patch would, in my opinion, not have been a
              good choice to use at that time." That statement is not correct -
              Surgery was completed/patient entered the PACU at 16:28 hrs on
              11128/11. The transdermal fentanyl patch was ordered at 07:00 hrs on
              11/30/11 (applied at 08:09 hrs), over 36 hours after completion of
              surgery, simply and clearly not used for immediate post-operative pain



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               as is the intended meaning of the black-box warning. Due to Mr.
               Monaco's severe pain shortly after midnight on 11130/11, as described
               in para ii. 4. above, the transdermal fentanyl was not only a good
               choice, it was an excellent choice.

    b. Prescription of multiple analgesic medications to be used in addition to
        the transdermal fentanyl for a patient with chronic low back pain, on which
        is added the moderate to severe pain associated with lumbar spine surgery, is
        not only not unusual, it is routine. I make this statement based on my
        experience of working with a group of spine surgeons for 15 years and
        managing thousands of their patients personally - pre, intra and
        postoperatively. Some patients do not require a lot of post-operative
        analgesics, but most do. As Dr. Schneider states multiple times in numerous
        documents, he and his PA-C, just as I always did, counseled and admonished
        their patients to be very careful with the "prn" (as needed) medications, to
       avoid overdosing themselves. We want the patient to be as comfmiable as
       possible, but not endanger themselves. With that goal in mind, even though
       prescribing multiple controlled substance analgesic medications may be
       routine, there must be some rationale or protocol followed in prescribing such
       medications to prevent such potential risk to the patient. Dr. Schneider had
       such a protocol in his NRNS practice, a "Prescription Protocol". In
       prescribing the Dilaudid, Percocet, Valium and transdermal fentanyl patches
       for Mr. Monaco on the morning of his discharge, Mr. Morrell violated the
       NRNS Prescription Protocol, i.e., In compliance with the Prescription
       Protocol, Mr. Morrell could have prescribed Dilaudid or Percocet or
       transdermal fentanyl patch, but not all three of those medications together.
       One critical point must be understood by those not in the health care field - It
       is routine medical practice to prescribe patients in pain (not just spine surgery
       patients) an amount of pain medication, such as hydrocodone 5 or 10 mg pills,
       to take 3 to 4 times per day as needed for pain, dispense #120. It is expected
       the patient will comply with the prescription. It is also understood by health
       care providers, but rarely verbalized, that any such patient given that very
       common analgesic prescription has the capability to take all those pills at one
       time and end their life. That risk is always present and it is not below the
       standard of care to prescribe that amount of medication. It is well-
       documented that Dr. Schneider, Mr. Morrell and the Nurses all counseled Mr.
       Monaco and his wife on the proper use of his strong analgesic and other
       medications. How the patient and his family actually manage the patient's
       medications at home is beyond the control of medical providers. During my
       32 years of medical practice, several patients for whom were prescribed strong
       opioid analgesic medications did die due to taking excessive doses of those
       medications and there was never any inference from anyone that the
       prescribing of those medications was at fault.




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2. Hospital events on the morning of discharge: Unfortunately, many documents and
   deposition testimony on what transpired the morning of discharge, 12/1/11, do not all
   cotTelate, e.g., Mr. Morrell acknowledges receiving a call from Nurse Fulkerson, but
   he denies being informed by Nurse Fulkerson of Mr. Monaco's precise oxygen
   saturation level, etc.

       a. Administration of IM Demeroi!Phenergan combination to the patient
           after he was ordered to be discharged from the hospital at 07:00 hrs.
           There is conjecture whether he received one or two injections of that
          Demerol/Phenergan combination, i.e. one injection at 07:30 or 07:40 hrs and a
           second one at 10:00 hrs on 12/1111, when there was only one order written for
          that medication. There is no conjecture about the 10:00 hrs injection, as the
          discharge Nurse testified to that fact, leaving the administration of the first
          injection in some question. With discharge orders written by Mr. Morrell at
          07:00 hrs, neither of those injections should have been administered to Mr.
          Monaco by the nursing staff, especially the second dose. Thus, even if the
          first injection was not actually given, the second injection at 10:00 hrs should
          not have been given. Not only was the injection at 10:00 hrs not indicated as
          it appears to not have been ordered, but it was not indicated clinically - Ms.
          Monaco, the patient's wife, testified that at the time of the 10:00 hrs injection,
          Mr. Monaco was obtunded, he was extremely lethargic and barely able to be
          aroused at the time of his discharge at 10:30 hrs. Nurse Fulkerson noted that
          shortly after 09:00 hrs on 12/1/11, one hour before his 1M Demerol/Phenergan
          injection at 10:00 hrs, his oxygen saturation declined to 75% on room air.
          Nurse Fulkerson testified that Mr. Monaco was not stable for discharge home,
          which she did not discuss with her charge nurse. The patient was also given
          oral Dilaudid, Percocet and Valium after 07:00 hrs, but prior to discharge at
          10:30 hrs.

      b. Discharge of Mr. Monaco from the hospital in a compromised medical
         condition: Mrs. Monaco testified that Mr. Monaco became progressively
         more lethargic after her an-ivai on the date of discharge (12/1111) and that he
         was extremely lethargic and barely able to be aroused at the time of his
         discharge at 10:30 hrs. When Mr. Monaco was off oxygen supplementation,
         he continued to trigger the low pulse oximetry monitor in his room throughout
         the day and never regained a normal state of consciousness. Nurse Fulkerson
         noted and documented that shortly after 09:00 hrs on 12/1111 that Mr.
         Monaco's oxygen saturation declined to 75% upon a room air challenge.
         Nurse Fulkerson stated she called the offices of Dr. Schneider and spoke
         directly to Mr. Morrell about Mr. Monaco's low oxygen saturation level. Mr.
         Monell acknowledged he received a call from Nurse Fulkerson, but denies
         being informed of Mr. Monaco's precise oxygen saturation levels, only that
         they had dropped. Mr. Morrell's conversation was overheard by Lisa Parker
         in Dr. Schneider's office, who testified that Mr. Morrell made the decision to
         send Mr. Monaco home without oxygen supplementation without speaking
         with Dr. Schneider. Thus, Mr. Monaco was discharged home by the Westpark



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               Hospital Nursing staff in an obtunded state, hypoxic on room air, in violation not
               only of both Dr. Schneider's and West Park Hospital's discharge policies, but
               contravening even minimum medical practice standards, no matter what order
               was given by a medical provider to discharge the patient.

IV. Conclusions:

        My conclusions are based on my extensive experience not only as an Anesthesiologist,
but as a Pain Medicine Specialist in my 30+ years as a physician. Unlike other respondents in
this case, as an Anesthesiologist, I have personally administered anesthesia and post-operative
pain management treatment to hundreds of patients who have undergone spine surgery, just like
Mr. Monaco. As a Pain Medicine Specialist, I have personally prescribed strong opioid
analgesics, including all the medications discussed in this case, to thousands of patients during
their ongoing treatment for years.

       1. The post-operative pain management with strong opioids by Dr. Schneider was
          not below the standard of care. The supervision of and coordination with his PA-C
          Mr. Morrell did not reach the level of violating the standard of care and in and of
          itself, it did not cause patient harm.

       2. Discharge from West Park Hospital on the morning of December 1, 2011, was
          clearly below the standard of care - It should never have taken place. No matter what
          the .Physician or his assistant ordered, the hospital nursing staff should not have
          discharged Mr. Monaco in his obtunded and hypoxic condition, especially when he
          had stated he would not use supplemental oxygen, which he needed to maintain
          adequate life-sustaining oxygenation, even if it was ordered. A hospital is a safe
          enviromnent for patients, in which it is expected they will receive appropriate
          treatment for their medical conditions and not be sent away if doing so places them in
          a position of continued or increased serious and life-threatening illness. Although his
          condition was not immediately life threatening, it was no different from a patient
          experiencing slow, but active bleeding after surgery, in which case the cause for
          aborting the discharge would be very obvious. Mr. Monaco's case may have been
          less dramatic, but was clearly no less life threatening. In and of itself, his discharge
          from the hospital, in violation of its own discharge criteria, was clearly below the
          standard of care and did lead to the ultimate patient hatm, i.e., death.

      3. Incorrect use of post-discharge analgesic and anxiolytic medications taken by the
         patient and administered by his wife. In contravention to instructions given by Dr.
         Schneider, Nurses at the hospital and a pharmacist, as determined by pill count of
         medication containers, at home after discharge, Mr. Monaco ingested 6 Percocet
         (oxycodone 7.5 mg), 3 Valium 5 mg and 1 Dilaudid 4 mg. The oxycodone and
         Dilaudid, combined, equaled approximately 90 mg of morphine ("morphine
         equivalents"), a substantial amount of opioid. As stated in para III. 1. b. above, the
         patient and family/caregivers at home are responsible for medicating the patient, a
         status which is beyond the control and responsibility of any health-care providers.
         We can counsel patients to do the right thing, but once they leave our controlled



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          medical environment, we cannot make them do it and cannot be responsible for their
          noncompliance with our instructions to them to maintain good medical care in their
          home environment.

My opinions expressed throughout this report are made to a reasonable degree of medical
probability. Furthermore, I reserve the right to modifY my opinions if and when additional
information becomes available.

Respectfully Submitted




Edson 0. Parker, MD




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